                       IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                               CHARLOTTE DIVISION
                                  3:10-CR-00245-RJC

 USA                                               )
                                                   )
    v.                                             )                 ORDER
                                                   )
 AHMED DANIEL CROCKETT                             )               UNDER SEAL
                                                   )


         THIS MATTER is before the Court upon motion of the defendant for a reduction of

sentence based on retroactive amendments to the United States Sentencing Guidelines regarding

drug offenses, (Doc. No. 171), and the government’s response in support, (Doc. No. 174).

         The defendant pled guilty to conspiring to possess with intent to distribute at least 1,000

kilograms of marijuana (Count One) and conspiring to commit money laundering (Count Two).

(Doc. No. 142: Judgment). At sentencing, the Court determined that the amount of marijuana

reasonably foreseeable to the defendant was between 3,000 and 10,000 kilograms. (Doc. No.

172: Supplemental Presentence Report at 1). The total offense level of 37, combined with a

criminal history category of VI, resulted in an advisory guideline range of 360 months to life.

(Id.). The Court imposed a sentence of 235 months on each count concurrently based on the

government’s motion, (Doc. No. 136), pursuant to USSG §5K1.1, 65% of the low end of the

range. (Doc. No. 142: Judgment at 2). The Court subsequently reduced the defendant’s sentence

to 163 months on each count concurrently based the government’s motion, (Doc. No. 159),

pursuant to Rule 35 of the Federal Rules of Criminal Procedure, which amounted to 45% of the

low end of the original range. (Doc. No. 170: Order).

         Under the most recent amendments to the guidelines, the total offense level for the

defendant’s drug offenses is 35, USSG Supp. to Appx. C., Amend. 782 (2014), resulting in an



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                amended guideline range of 292-365 months. (Doc. No. 172: Supplemental Presentence Report

                at 2). The defendant seeks a comparably reduced sentence of 131 months pursuant to USSG

                §1B1.10(b)(2)(A), (Doc. No. 171: Motion at 2), to which the government consents, (Doc. No.

                174: Response at 1).

                         Consistent with 18 U.S.C. § 3582(c)(2), the Court has considered the factors set forth in

                18 U.S.C. § 3553(a), as well as the defendant’s post-sentence conduct and the public’s safety.

                Based on these factors, the Court finds that a reduction of the defendant’s sentence would

                accomplish the goals of sentencing.

                         IT IS, THEREFORE, ORDERED that the defendant’s motion, (Doc. No. 171), is

                GRANTED and the defendant’s sentence is reduced to 131 months on each count concurrently.

                All other conditions remain unchanged.

                         The Clerk is directed to certify copies of this Order to the defendant, counsel for the

                defendant, the Community Defender, the United States Attorney, the United States Marshals

                Service, and the United States Probation Office.


Signed: October 13, 2016




SEALED DOCUMENT with access to Specified Parties/Defendants.




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